            Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 1 of 11




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

NETLIST, INC.,

                        Plaintiff,
                                                       Civil Action No. 1:22-cv-00134-DII
v.
                                                       JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                        Defendants.


NETLIST, INC.,

                        Plaintiff,                     Civil Action No. 1:22-cv-00136-DII
v.                                                     JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                        Defendants.



                                       JOINT STATUS REPORT

          Pursuant to this Court’s Order dated February 7, 2024 (Dkt. 85), Plaintiff Netlist, Inc.

(“Plaintiff”) and Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas LLC (collectively, “Defendants”) hereby submit the following joint status

report regarding pending inter partes review proceedings relating to the Patents-in-Suit:

                                     POSITIONS OF THE PARTIES

     I.   NETLIST’S POSITION

          Netlist intends to move to lift the stay in the above captioned cases solely for the purpose

of moving to transfer these litigations to the Eastern District of Texas. Netlist is asserting the


                                                   1
           Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 2 of 11




following patents: U.S. Patent Nos. 9,824,035 (the ’035 patent), 10,268,608 (the ’608 patent),

10,489,314 (the ’314 patent), and 8,301,833 (the ’833 patent). The ’608 patent has been construed

by Chief Judge Gilstrap in the Eastern District of Texas in a litigation brought by Netlist against

Samsung LRDIMMs that has been consolidated with a litigation brought by Netlist against Micron

LRDIMMs. Netlist Inc. v. Samsung Electronics, Co. LTD., Case No. 2:22-cv-293-JRG (E.D.

Tex.), Dkt. 30 (consolidating Netlist Inc. v. Samsung Electronics, Co. LTD. with Netlist Inc. v.

Micron Technology Texas, LLC, et al.); id., Dkt. 228 (claim construction order regarding ’608

patent).

       As set forth below in Section II, the PTAB rejected Micron’s challenge to the ’608 patent. 1

Similarly, claims 2 and 6 of the ’035 patent survived Micron’s inter partes review challenge, and

Micron did not appeal. The PTAB also rejected Micron’s challenge to the ’314 patent, finding that

none of the claims were unpatentable. While Micron has appealed that decision, this does not

warrant maintenance of the stay. See UNM Rainforest Innovations v. TP-Link Techs. Co., No. 6:19-

CV-00262-ADA, 2023 WL 2638273, at *3 (W.D. Tex. Mar. 24, 2023) (“[T]he case law

concerning motions to extend stays pending Federal Circuit review of a PTAB decision in an IPR

proceeding substantially favors lifting the stay.”) (quoting Dermafocus LLC v. Ulthera, Inc., No.

15-654, No. 15-654, 2018 WL 5113960, at *2 (D. Del. Oct. 19, 2019); see also id. (“[T]he mere

possibility ... that the asserted claims could be invalidated [after an] appeal and [that this would]

result in simplification is too speculative to be given much weight.”).

       Finally, while the PTAB invalidated the challenged claims of the ’833 patent, Micron has



1
  While Micron has filed a “me too” petition to join Samsung’s pending challenge to the ’608
patent, Netlist’s infringement case against Samsung involving that same patent has not been
stayed and is set for trial in in roughly two months in the Eastern District of Texas. Netlist Inc. v.
Samsung Electronics, Co. LTD., Case No. 2:22-cv-293-JRG (E.D. Tex.).


                                                  2
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 3 of 11




filed suit in Idaho alleging that Netlist’s claim for infringement of the ’833 patent was brought in

bad faith. Micron Technology, Inc. et al v. Netlist, Inc., 1:24-cv-00001-DCN (D. Idaho). Netlist

has moved to dismiss, or in the alternative transfer, that case to the Western District of Texas,

based in part on the fact that Micron’s bad faith claim is a compulsory counter claim that Micron

was required to bring in the underlying infringement litigation. Contrary to Micron’s assertion

below, it is Micron who is acted in bad faith by engaging in clear forum shopping rather than

raising its bad faith claim in Texas as it was required to do. Thus, tto the extent that the Idaho court

declines to dismiss Micron’s bad faith claim outright, that claim should be litigated in Texas.

        . The cases should also be transferred to the Eastern District of Texas, Marshall Division.

That court is currently presiding over two other infringement cases between Netlist and Micron

and has conducted two separate claim constructions on patents involving related technology.

Netlist, Inc. v. Micron Technology Inc. et. al., Case No. 22-cv-203-JRG (E.D. Tex.); Netlist, Inc.

v. Micron Technology Inc. et. al., Case No. 22-cv-294 (E.D. Tex.). As noted above, the Eastern

District of Texas is also presiding over another suit between Netlist and Samsung involving the

’608 patent. That case is currently set for trial in April, 2024. Thus, the convenience of the parties

and judicial economy favor transfer to the Eastern District of Texas, which is already familiar with

the technology at issue and is set to have trial in case involving the ’608 patent in roughly two

months. This, among other factors, favors transfer. See XY, LLC v. Trans Ova Genetics, LC, No.

W-16-CA-00447-RP, 2017 WL 5505340, at *16 (W.D. Tex. Apr. 5, 2017) (“The undersigned

finds that judicial economy favors transfer. The efforts expended by the District of Colorado to

become familiar with the technology at issue weigh extensively in favor of transfer.”).

        For the reasons set forth above, Netlist will be filing a formal motion seeking to lift the

stay and transfer this case to the Eastern District of Texas.




                                                   3
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 4 of 11




 II.   MICRON’S POSITION

       The relevant IPR statuses are listed in Section III below.

       In preparing this joint status report, Netlist first argued that it will seek to lift the stay

because the asserted patents “are now ready for trial.” 2/20/24 Draft Joint Status Report. Micron

informed Netlist that this is not true. To the contrary,

           •   All asserted claims from the ’833 patent were found invalid and the time for Netlist
               to appeal that decision has expired. The ’833 patent is the sole patent asserted in
               Case No. 1:22-cv-134. Micron asked Netlist to confirm that it will move to dismiss
               the -134 Case with prejudice. Netlist to-date has refused to respond.

           •   All asserted claims from the ’608 patent are being challenged in IPR2023-00847.
               That challenge instituted two months ago and Micron filed a substantially similar
               IPR challenge and motion seeking to join IPR2023-00847. Samsung has moved to
               stay its litigation involving the ’608 patent pending resolution of IPR challenges.
               See Netlist Inc. v. Samsung Electronics, Co. LTD., Case No. 2:22-cv-293-JRG
               (E.D. Tex.), ECF 285.

           •   Two asserted claims from the ’035 patent survived the IPR challenges. The ’035
               patent is related to the ’608 patent, shares a near identical specification disclosure,
               and includes many similar claim limitations. Disputes regarding the scope of these
               claim limitations will likely be narrowed or resolved in light of the arguments
               presented in IPR2023-00847.

           •   The PTAB found that the ’314 patent claims were not shown unpatentable on very
               narrow grounds. For IPR2022-00744, the PTAB found a single claim construction
               issue “dispositive.” IPR2022-00744, Paper 34 at 6. For IPR2022-00745, the PTAB
               ruling focused on the prior art’s teaching with respect to a single claim element
               [15.6]. IPR2022-00745, Paper 34 at 18. These results are being appealed and
               resolution of that appeal will likely significantly narrow or resolve the parties’
               disputes for this claim construction issues and claim limitation 15.6 in the present
               case.

       Netlist has now changed strategy in an apparent realization that it has no valid basis for

lifting the stay and restarting litigation in the Western District of Texas where Netlist filed suit.

Specifically, Netlist is now arguing to lift the stay “solely for the purpose of moving to transfer

these litigations to the Eastern District of Texas.” Netlist sprung this new strategy on Micron late

in the day today on the filing deadline (2/21/24).



                                                  4
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 5 of 11




       There is no reason to lift the stay at this time. The Court granted Micron’s motion

requesting a stay “pending the complete resolution, through any appeals, of the inter partes

review” Case No. 1:22-cv-134, ECF 58 at 1; Case No. 1:22-cv-136, ECF 59 at 1. The ’608 patent

IPR challenges are not resolved—IPR2023-00847 instituted two months ago and is continuing

towards oral arguments and a final written decision. Nor are the ’314 patent IPR appeals

completed. Indeed, the final PTAB decisions for the ’314 patent IPRs issued almost four months

ago and the appeals are already underway. Netlist has identified no reason for its delay in seeking

to lift the stay when all signs otherwise indicated that Netlist understood that the stay would

continue through resolution of the appeals. Netlist’s citation to NM Rainforest Innovations v. TP-

Link Techs. Co., No. 6:19-CV-00262-ADA, 2023 WL 2638273, at *3 (W.D. Tex. Mar. 24, 2023)

is inapposite. That case denied a motion to stay and did not address whether to lift a stay when

IPR challenges involving the asserted patents were pending in the PTAB and in the Federal Circuit.

       Courts have continued stays through the end of appeals in similar situations in the interest

of efficiency and economy. See, e.g., AgroFresh Inc., No. 16-662, 2019 WL 2327654 at *3 (D.

Del. May 31, 2019) (granting stay until resolution of Federal Circuit appeal of IPR decision despite

late stage of litigation); Novartis AG v. HEC Pharm Co., 183 F. Supp. 3d 560, 562 (D. Del. 2016)

(granting stay through IPR appeal, noting that “it would be complicated and potentially wasteful

for the Court to litigate the [patent-in-suit] at the same time as the Federal Circuit is reviewing its

validity”); Safe Storage LLC v. Dell Inc., No. CV 12-1624-GMS, 2016 WL 11689536, at *2 (D.

Del. Mar. 11, 2016) (denying Plaintiff’s motion to lift the stay until after resolution of anticipated

appeals to Federal Circuit); Andrea Elecs. Corp. v. Apple Inc., No. 16CV5220, 2019 WL 3712120,

at *2 (E.D.N.Y. Aug. 6, 2019) (denying motion to lift stay and granting motion to extend stay

pending final resolution of IPR appeal); Bos. Sci. Corp. v. Cook Grp. Inc., No. 117CV03448, 2019




                                                  5
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 6 of 11




WL 2511162, at *3 (S.D. Ind. June 17, 2019) (denying motion to lift stay, continuing stay pending

a final decision by the Federal Circuit); Realtime Data LLC v. Silver Peak Sys., Inc., No. 17-CV-

02373, 2018 WL 3744223, at *2 (N.D. Cal. Aug. 7, 2018) (denying motion to lift stay, finding that

waiting for the conclusion of the pending appeals “advances the court’s and parties’ interests in

avoiding unnecessary expenditure of resources”).

       Netlist’s arguments regarding transfer are even less compelling. Netlist is seeking to

transfer the case because it is unsatisfied that this Court stayed the case and Netlist hopes to get a

second bite at the apple in the Eastern District of Texas. This is impermissible forum shopping

and a blatant attempt to usurp this Court’s authority. See, e.g., Royal Queentex Enters. v. Sara Lee

Corp., No. C-99-4787, 2000 WL 246599, at *3 (N.D. Cal. Mar. 1, 2000) (“Circumstances in which

a plaintiff’s chosen forum will be accorded little deference include cases of anticipatory suits and

forum shopping”) (citing Mission Ins. Co. v. Purina Fashions Corp., 706 F.2d 599, 602 n. 3 (5th

Cir.1983)). Netlist’s argument regarding the ’608 patent recently being construed by Judge

Gilstrap also ignores that motions to transfer require analysis of the factors when the case was

filed, which here was years before Judge Gilstrap’s claim construction. 2 See In re EMC Corp.,

501 Fed. Appx. 973, 976 (Fed. Cir. 2013) (“considerations of judicial economy arising after the

filing of a suit” are not given weight); ACQIS LLC v. MiTAC Computing Technology Corporation,

No. 20-cv-962-ADA, 2021 WL 4805431, at *1 (W.D. Tex. Oct. 14, 2021) (“Courts evaluate these

factors based on the situation which existed at the time of filing, rather than relying on hindsight

knowledge”) (citing Hoffman v. Blaski, 363 U.S. 335, 343, 80 S. Ct. 1084, 4 L. Ed. 2d 1254



2
  This argument also ignores that only Netlist and Samsung (ie. not Micron) argued claim
construction for the ’608 patent in the Eastern District of Texas (because the ’608 patent is not
asserted against Micron in the Eastern District of Texas). By contrast, Netlist and Micron have
fully briefed claim construction positions on the relevant ’608 patent terms between the parties in
this District. See -136 Case, ECF 66.

                                                  6
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 7 of 11




(1960)). Netlist’s transfer argument also ignores that the parties previously negotiated a joint

stipulation to transfer the cases to the Western District of Texas Austin Division in return for

Micron giving up its right to move to transfer the cases to Idaho. See, e.g., Case No. 6:21-cv-430,

ECF 43. Netlist cannot demonstrate that any of the transfer deterministic factors, stated by In re

Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004), weigh in favor of usurping the stay imposed

by this Court by sending the cases to a different Judge to see if Netlist can get a different result.

       Netlist’s reference to Micron’s bad-faith claims in Idaho is a red-herring. Micron brought

those Idaho state law claims because, in part, Netlist was asserting objectively invalid claims.

Netlist’s continued assertion of those claims, now that the PTAB has found the claims invalid and

Netlist did not appeal that result, is egregious and an act of bad-faith.

                                        STATUS OF IPRS

III.   U.S. PATENT NO. 9,824,035 (PTAB CASE NO. IPR2022-00236)
       (FINAL WRITTEN DECISION ISSUED)

           − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
             U.S. Patent No. 9,824,035.
           − On July 19, 2022, the Board granted the Petition and trial was instituted.

           − On October 11, 2022, Plaintiff submitted its Patent Owner’s Response.

           − On January 17, 2023, Defendants submitted their Reply to Patent Owner’s
             Response.

           − On February 28, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
             Patent Owner’s Response.

           − On April 19, 2023, an Oral Argument for the proceeding commenced.

           − On June 20, 2023, the Board issued its Final Written Decision affirming validity
             of claims 2, 6, and 22, and finding claims 1, 10-13, and 21 invalid.

           − On July 20, 2023, Defendants filed a request for rehearing and on August 16,
             2023, the Board granted the request and found claim 22 invalid. Following the
             rehearing, the validity of claims 2 and 6 was confirmed, and claims 1, 10-13, 21,
             and 22 were held invalid.



                                                  7
           Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 8 of 11




IV.   U.S. PATENT NO. 10,268,608

      A.       DEFENDANTS’ FIRST IPR (PTAB CASE NO. IPR2022-00237)
               (INSTITUTION DENIED)

            − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
              U.S. Patent No. 10,268,608.
            − On July 19, 2022, the Board denied the Petition, and no trial was instituted.
            − On August 12, 2022, the Defendants filed a request for rehearing and on
              September 16, 2022, the Board denied the request.

      B.       SAMSUNG’S IPR (PTAB CASE NO. IPR2023-00847) (INSTITUTED)

            − On April 27, 2023, Samsung Electronics Co., Ltd. filed a Petition for Inter Partes
              Review of U.S. Patent No. 10,268,608.
            − On December 12, 2023, the Board granted the Petition and trial was instituted.

      C.       DEFENDANTS’ SECOND IPR (PTAB CASE NO. IPR-2024-00370)
               (MOTION FOR JOINDER PENDING)

            − On January 10, 2024, Defendants filed a Petition for Inter Partes Review of U.S.
              Patent No. 10,268,608. The IPR is substantially similar to Samsung’s IPR2023-
              00847.
            − On January 10, 2024, Defendants also filed a Motion for Joinder to Samsung’s
              IPR2023-00847.

V.    U.S. PATENT NO. 10,489,314 (PTAB CASE NOS. IPR2022-00744 AND IPR2022-
      00745) (FINAL WRITTEN DECISIONS ISSUED – APPEAL PENDING)

            − On March 30, 2022, Defendants filed two Petitions for Inter Partes Review of
              U.S. Patent No. 10,489,314.
            − On November 1, 2022, the Board granted the Petitions and trial was instituted.
            − On February 7, 2023, Plaintiff submitted its Patent Owner’s Response.
            − On May 5, 2023, Defendants submitted their Reply to Patent Owner’s Response.
            − On June 16, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to Patent
              Owner’s Response.
            − On August 15, 2023, Oral Argument for the proceedings was held.
            − On October 30, 2023, the Board issued two Final Written Decisions determining
              no challenged claims unpatentable in either of the IPR proceedings.
            − The Federal Circuit docketed Micron’s appeal in consolidated CAFC Case Nos.
              24-1312 (Lead) and 24-1313.


                                                8
          Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 9 of 11




           − On February 12, 2024 the Federal Circuit confirmed receipt of the Certified List.

       Further, as a courtesy to the Court, the parties hereby submit status updates regarding the

IPR proceeding challenging the patent that Netlist is asserting against Micron in the Western

District of Texas in the above captioned cases:

VI.    U.S. PATENT NO. 8,301,833 (PTAB CASE NO. IPR2022-00418)
       (FINAL WRITTEN DECISION ISSUED)

           − On January 14, 2022, Defendants filed a Petition for Inter Partes Review of U.S.
             Patent No. 8,301,833.
           − On September 1, 2022, the Board granted the Petition and trial was instituted.
           − On November 25, 2023, Plaintiff submitted its Patent Owner’s Response.
           − On February 17, 2023, Defendants submitted their Reply to Patent Owner’s
             Response.
           − On March 31, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
             Patent Owner’s Response.
           − On June 7, 2023, an Oral Argument for the proceeding was held.
           − On August 28, 2023, the Board issued its Final Written Decision finding challenged
               claims 1, 3-17, and 19-30 invalid.
           − On December 11, 2023, Micron sued Netlist in Idaho state court alleging that the
               Netlist’s suit alleging infringement of the ’833 patent was brought in bad faith under
               Idaho Code § 48-1701, et seq. Netlist then removed to federal court. Micron
               Technology, Inc. et al v. Netlist, Inc., 1:24-cv-00001-DCN (D. Idaho).
           − On February 7, 2024, Netlist moved to dismiss or in the alternative transfer
               Micron’s bad faith claim to the Western District of Texas on the ground that this
               was a compulsory counterclaim to Micron’s complaint asserting infringement of
               the ’833 patent. That motion is still pending.


 Dated: February 21, 2024                             Respectfully Submitted,

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                                                  9
        Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 10 of 11




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                                         10
         Case 1:22-cv-00136-DII Document 88 Filed 02/21/24 Page 11 of 11




                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

services are being served with a copy of this document via the Court’s CM/ECF system per Local

Rule CV-5(a) on this the 21st day of February, 2024.



                                            /s/ Kelly Ransom ____
